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EXHIBIT B
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Exhibit B (The “Exhibit’’) to the Notice of Deposition and
Subpoena is not included herein. This Exhibit can be obtained by contacting
Debtors’ counsel in writing at Pachulski, Stang, Ziehl, Young, Jones &
Weintraub LLP, 919 North Market Street, 16" Floor, P.O. Box 8705,

Wilmington, DE 19899-8705.

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